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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 Itasca Images, LLC, and
 Tony Webster,
                                                      Case No. 21-cv-287 (JRT/DTS)
                                 Plaintiffs,

 v.                                                    JOINT STATUS REPORT

 Shutterstock, Inc., et al.,

                               Defendants.


       Plaintiffs Itasca Images, LLC and Tony Webster (collectively “Plaintiffs” or
“Itasca”) and Defendant Shutterstock, Inc. (“Shutterstock”) jointly file this status report in
compliance with the Court’s December 2, 2021 order.

I.       Joint Statement

        The parties jointly believe this month’s status conference may be skipped. The
parties will work together over the coming weeks to sharpen any potential issues in dispute
to be prepared to bring them to the Court by the April conference. The parties’ counsel
jointly agree to work collaboratively over the coming weeks to set concrete estimates,
expectations, and deadlines for any issues for which progress has been promised.

II.      Plaintiffs’ Status Report

         a.      Progress since last month

       Plaintiffs made additional document productions on March 1, 2022. The parties all
served additional discovery requests late last month. Plaintiffs are working on their
responses. Plaintiffs have no issues requiring the Court’s intervention at this time. Plaintiffs
continue to review documents and reserve the right to bring forward any deficiencies at the
next conference if not resolved by then.

         b.      Plaintiffs raise for preservation the following issues, but are hopeful they
                 will be resolved by the next report



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       1.     Last month’s status report identified the outstanding issue of analytics data.
This has not been resolved. Shutterstock was ordered to produce analytics data relating to
the Photographs in suit, and otherwise agreed to produce analytics and log data referencing
the Photographs. They have not done so. Specifically, Plaintiffs have no documents from:
Google Analytics (though Plaintiffs have been advised that the analytics data that has been
produced may include some limited data from Google Analytics), New Relic, Criteo, Sumo
Logic, Impact Radius, Extole, Foresee, Rank Science, Sift Science, CloudFront, or S3. We
understand this will all be produced.

       2.     Last month’s status report preserved the issue of Shutterstock skipping
certain photographs (asset ID numbers) in their document productions. This has not been
resolved. Plaintiffs have not received documents or supplemental interrogatory responses,
but we understand they will be forthcoming.

       3.     Last month’s status report preserved the issue of malformed JSON files in
Shutterstock’s productions. This has not been resolved, but we understand it will be
forthcoming.

       4.     Shutterstock has not identified custodians for many documents. Plaintiffs
will need to know the names of custodians for deposition purposes.

       5.     Shutterstock was ordered to produce their reviewer guidelines. They
produced a version with missing content which was dated 2022, but not the version(s) as
applied to the Photographs in suit in 2019 and 2020.

         c.      Plaintiffs’ responses to Shutterstock’s issues raised in Section III(a)

Plaintiffs have not been advised of any unresolved deficiencies in their document
productions, but when Shutterstock does bring them to Plaintiffs’ attention, Plaintiffs will
seek to promptly address the matter. Plaintiffs hope that this happens sooner than later to
give the parties time to resolve it before the next conference.

III.     Shutterstock’s Status Report

         a.      Progress since last month

       Shutterstock is in the process of reviewing Plaintiffs’ additional document
productions. While minor concerns have been identified, they have not been fully fleshed
out with Plaintiffs. Therefore, Shutterstock does not have any issues requiring Court
intervention at this time. However, Shutterstock reserves its right to raise any document
production deficiencies with the Court in the next status conference(s). As stated above in
Plaintiffs’ section, the parties all served additional discovery requests, and Shutterstock is
working on its responses, which are due at the end of the month.

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         b.      Shutterstock’s responses to Plaintiffs’ issues raised in Section II.b

         Shutterstock responds to the points above as follows:

       1.     Shutterstock expects the additional Google Analytics data to be produced by
or shortly after the time of the filing of this Report. Shutterstock believes that it was
compliant with the Court’s order prior to the last conference but it has offered to provide
additional material not because it is warranted, but in the interest of avoiding further motion
practice. However, Plaintiffs have never formally requested any of the additional material
(New Relic, Criteo, Sumo Logic, Impact Radius, Extole, Foresee, Rank Science, Sift
Science, etc.), nor has it been ordered by this Court, and therefore Shutterstock cannot
understand why Plaintiffs “understand this will all be produced.” In any event, there is no
useful log data in these systems that was not stored in the account paper trail or image
history data already produced, so there is nothing further that they believe merits
production. Notably, Plaintiffs have not offered any basis to claim that they would need
this amount of data in a claim of this nature, much less anything beyond that scope.

       2.     Shutterstock’s response Interrogatory No. 2 will be updated when
Shutterstock produces the analytics data raised in Plaintiffs’ Section II.b.1. Regardless, as
Shutterstock has confirmed from the outset of the case by identifying all licenses at issue,
no licenses were issued to the 4 “omitted” images.

       3.      Shutterstock has collected the valid JSON files, and anticipates producing
this before the next conference.

       4.        The parties are working to resolve what data Plaintiffs believe is lacking a
custodian.

       5.     Shutterstock is locating the Reviewer Guidelines from 2019 and 2020 and
will produce them if they exist.




 Dated: March 22, 2022                     TAFT STETTINIUS & HOLLISTER LLP

                                           By: /s/ Scott M. Flaherty
                                                   Scott M. Flaherty (#388354)
                                                   Jordan L. Weber (#396769)
                                                   O. Joseph Balthazor (#399093)
                                           2200 IDS Center
                                           80 South Eighth Street
                                           Minneapolis, MN 55402-2157
                                           Telephone: (612) 977-8400

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                                        Emails:      sflaherty@taftlaw.com
                                                     jbalthazor@taftlaw.com
                                                     jweber@taftlaw.com
                                        ATTORNEYS FOR PLAINTIFFS
                                        ITASCA IMAGES, LLC
                                        AND TONY WEBSTER



 Dated: March 22, 2022                 MITCHELL SILBERBERG & KNUPP LLP
                                       By: /s/Eleanor M. Lackman
                                              Eleanor M. Lackman (pro hac vice)
                                              J. Matthew Williams (pro hac vice)
                                              Genevieve Javidzad (pro hac vice)

                                       437 Madison Ave., 25th Floor
                                       New York, NY 10022-7001
                                       Telephone: (212) 509-3900
                                       Emails:     eml@msk.com
                                                   mxw@msk.com
                                                   glj@msk.com

                                       LATHROP GPM LLP
                                       Dean Eyler (#267491)
                                       Richard Landon (#392306)
                                       500 IDS Center
                                       80 South Eighth Street
                                       Minneapolis, MN 55402
                                       Telephone: (612) 632-3016
                                       Emails:      dean.eyler@lathropgpm.com
                                                    richard.landon@lathropgpm.com

                                       ATTORNEYS FOR DEFENDANT
                                       SHUTTERSTOCK, INC.




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